
673 S.E.2d 664 (2009)
STATE of North Carolina
v.
Roger Earl COLEY.
No. 544A08.
Supreme Court of North Carolina.
February 5, 2009.
M. Gordon Widenhouse, Jr., Chapel Hill, for Coley.
Joan Cunningham, Special Deputy Attorney General, Howard S. Boney, Jr., District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 668 S.E.2d 46.

ORDER
Upon consideration of the petition for discretionary review, filed by Defendant on the 9th day of December 2008 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Denied by order of the Court in conference, this the 5th day of February 2009."
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendant's new brief so limited in scope shall be filed with this Court not more that 30 days from the date of certification of this order.
